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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


LEONARD A. SAYLES, JR.,

                              Petitioner,

v.                                                   CIVIL ACTION NO. 2:05-cv-00122
                                                     (Criminal No. 2:99-cr-00198-05)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER


       Pending before the court is the petitioner’s motion under 28 U.S.C. § 2255 to vacate, set

aside or correct sentence. This action was referred to the Honorable Mary E. Stanley, United States

Magistrate Judge, for submission to this court of proposed findings of fact and recommendation for

disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate Judge has submitted findings of

fact and recommended that the court deny the petitioner’s § 2555 motion.

       The petitioner has filed timely objections to the Magistrate Judge’s findings and

recommendations. The court has performed a de novo review of those portions of the findings and

recommendations that the petitioner objected. The court FINDS that the objections are without

merit. The court agrees with the thorough analysis of the Magistrate Judge.

       Accordingly, the court ADOPTS and incorporates herein the findings and recommendation

of the Magistrate Judge, and DENIES the petitioner’s § 2255 motion.
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       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.

                                            ENTER:         August 22, 2006




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